    Case 1:15-md-02657-FDS Document 1772 Filed 12/13/19 Page 1 of 2



                       UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MASSACHUSETTS



                                                 MDL NO. 1:15-md-2657-FDS
                                                 This document relates to:
IN RE: ZOFRAN® (ONDANSETRON)
                                                 All Actions
PRODUCTS LIABILITY LITIGATION




            PLAINTIFFS’ AND GSK’S PROPOSED AGENDA FOR
          DECEMBER 16, 2019 TELEPHONIC STATUS CONFERENCE

 1. Filings update

 2. State court update

 3. Update on GSK’s Citizen Petition and December 2, 2019 submissions to the Court

 4. Update on GSK and Novartis discovery

 5. Update on discovery related to Dr. Zambelli-Weiner
        Case 1:15-md-02657-FDS Document 1772 Filed 12/13/19 Page 2 of 2



                                 CERTIFICATE OF SERVICE

       I hereby certify that the foregoing document, which was filed with the Court through the
CM/ECF system, will be sent electronically to all registered participants as identified on the Notice
of Electronic Filing (“NEF”) and paper copies will be sent via first class mail to those identified
as non-registered participants.

                                             /s/ Jennifer Stonecipher Hill
                                             Jennifer Stonecipher Hill




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